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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STAFF INSPECTOR DEBRA FRAZIER                                :
                                                             :       No. 18-3121
       v.                                                    :
                                                             :
CITY OF PHILADELPHIA d/b/a                                   :
PHILADELPHIA POLICE DEPARTMENT, et al                        :


                            JOINT RULE 26(f) MEMORANDUM

       In accordance with Federal Rule of Civil Procedure 26(f) and this Honorable Court’s July

26, 2018 Scheduling Order, counsel for the parties conferred on July 31, 201, and submit the

following report of their meeting for this Honorable Court’s consideration:

1.     DISCUSSION OF CLAIMS, DEFENSES, AND RELEVANT ISSUES

            a. Plaintiff

       Plaintiff brings one claim under Title VII, alleging both retaliation and discrimination by

her employer, the City of Philadelphia’s Policy Department, for the alleged adverse action in

failing to promote Plaintiff while Plaintiff was objectively in the second slot for promotion. In

addition to discovery on Plaintiff’s allegations concerning statements made by various agents of

Defendant, as well as Defendant, Ross, Plaintiff will focus discovery on the decision-making

behind Defendant, Ross initial decision not to promote anyone to chief inspector (while Plaintiff

was objectively in the second slot for promotion) and then flipping that decision once the list

expired, thereby promoting two males to the position of chief inspector.
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           b. Defendants

       Defendants deny that Inspector Frazier was not promoted in retaliation for her statements.

Additionally, Plaintiff’s assertion that she was in second slot on the relevant promotional list is

incorrect; she was originally ranked sixth, and then, on a supplementary list, seventh. Moreover,

Defendants assert that Plaintiff’s claims are barred by the statute of limitations/exhaustion of

remedies, as Defendants have no record of a charge of discrimination filed with the EEOC within

300 days of the date Plaintiff became aware that she would not be promoted, and Plaintiff has not

alleged that such a charge was timely filed in her complaint. Defendants will file a motion to

dismiss on these grounds.

2.     INFORMAL DISCLOSURES

           a. Plaintiff

       Plaintiff served her initial disclosures on July 31, 2018, along with Plaintiff’s initial

discovery requests.

           b. Defendants

       Defendants will serve their initial disclosures on August 6, 2018, along with their initial

discovery requests.

3.     FORMAL DISCOVERY

       The Parties respectfully request 150 days from the date of the Rule 16 Conference to

complete Fact Discovery, i.e. the Parties request the fact discovery deadline to be on January 7,

2019 (as 150 days from the Rule 16 Conference would fall on a January 5, 2019, a Saturday). In

addition to the written discovery, the Parties anticipate deposing Plaintiff, as well as several non-

parties, whose availability will need to be coordinated.




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4.     ELECTRONIC DISCOVERY

       The parties do not anticipate conducting any electronic discovery. Should the need for

electronic discovery arise, the parties agree to the standards set forth in the Court’s default order

regarding electronic discovery are appropriate.

5.     EXPERT WITNESS DISCLOSURES

       The Parties suggest that all primary expert reports be exchanged on February 6, 2019

(thirty days following close of fact discovery); and any rebuttal expert reports by due by March

8, 2019 (sixty days following close of fact discovery).

6.     EARLY SETTLEMENT OR RESOLUTION

       The parties are inclined to partake in mediation before this Honorable Court’s Magistrate

Judge following the close of fact discovery, in January 2019.

7.     TRIAL DATE

       The parties propose that the Court schedule a trial date following disposition of

dispositive Motion(s), which are expected to be filed, and for trial scheduling purposes request a

date certain due to Plaintiff’s Counsel’s trial load.

8.     OTHER ISSUES FOR THE COURT

       None at this time.

                                                        Respectfully Submitted

WEISBERG LAW                                            CITY OF PHILADELPHA LAW DEPT.

/s/ Matthew B. Weisberg                                 /s/ Christopher H. Rider
Matthew B. Weisberg, Esq.                               Christopher H. Rider
L. Anthony DiJiacomo, III, Esq.                         Attorney for Defendants
Attorneys for Plaintiff




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